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                IN THE UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF ARKANSAS
                         WESTERN DIVISION


VIVEK SHAH,
Reg. #43205-424                                                         PLAINTIFF

V.                             4:15CV000254 SWW

ERIC H. HOLDER, JR.
U.S. Attorney General                                                 DEFENDANT


                                   JUDGMENT

      Consistent with the Order entered separately on this day, this case is dismissed

with prejudice. It is certified, pursuant to 28 U.S.C. § 1915(a)(3), that an in forma

pauperis appeal would not be taken in good faith.

      Dated this 11th day of May, 2015.



                                                       /s/Susan Webber Wright
                                             UNITED STATES DISTRICT JUDGE
